Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    1 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    2 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    3 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    4 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    5 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    6 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    7 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    8 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1   filed 11/19/21   USDC Colorado   pg
                                    9 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    10 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    11 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    12 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    13 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    14 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    15 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    16 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    17 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    18 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    19 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    20 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    21 of 22
Case No. 1:21-cv-03134-LTB-GPG   Document 1    filed 11/19/21   USDC Colorado   pg
                                    22 of 22
